                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:05cr392


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                  ORDER
                                         )
RUFO MIGUEL PEREZ-TAPIA                  )
________________________________________ )


       THIS MATTER is before the Court upon motion of the defendant for a continuance of

this matter from the April 3, 2006 trial term in the Charlotte Division. (Doc. No. 43).

       In the motion, filed March 17, 2006, the defendant states he has not yet received

discovery. The defendant was indicted on November 15, 2005, and waived personal appearance

at arraignment on January 8, 2006. A standard discovery order was entered on January 13, 2006,

obligating the government to notify the Court if its usual open-file policy would not be observed

in this case. (Doc. No. 32). No such notice was filed. The Court requires additional information

regarding efforts made by the parties to conduct discovery in this case during the three months

since discovery was first ordered.

       IT IS, THEREFORE, ORDERED that the defendant’s motion is under advisement. On

or before March 29, 2006, counsel for the defendant shall file a pleading with the Court stating

what steps he has taken to review information in the government’s files. Counsel for the

government is likewise directed to file a pleading on or before March 29, 2006, stating what steps

he as taken to provide information required by the discovery order.




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       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals service, and the U.S.

Probation office.

                                                  Signed: March 24, 2006




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